[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]CORRECTED MEMORANDUM OF DECISION (RE: MOTION FOR CLARIFICATION)
The defendant has moved the Court to clarify certain of its orders entered in the Memorandum of Decision dated August 14, 1997.
The Motion is granted and the Court clarifies its decision as follows:
On page five of its decision under the heading "Insurance" the court ordered that:
    "The husband shall provide and maintain comprehensive medical and dental insurance for the benefit of the minor children. He shall further provide COBRA medical coverage for the plaintiff through his employment for as long as it is available under COBRA provisions.
    Unreimbursed medical expenses for the minor children shall be shared equally between the parties. The husband shall provide medical insurance cards to the wife promptly upon receipt of same."
The Court intended that the defendant pay for the cost of COBRA medical coverage for the plaintiff. (There was testimony that such coverage would cost approximately $197 per month).
With respect to the issue of dental insurance for the minor children, it was the Court's understanding that such dental coverage was already in place through the insurance plan provided by the defendant's employer.
At argument on this motion the Court was informed that this was, in fact, not the case and that only the defendant himself CT Page 1832 was covered by employer-provided dental insurance.
It was the intention of the Court that the defendant provide medical and dental insurance for the minor children as is provided through his employment. Since it is not provided through his employer's insurance plan, it then would be an unreimbursed medical expense to be shared equally between the parties. There was some indication in argument that dental insurance might be available from the regular medical provider. If that is correct, then the parties shall share equally the additional cost of such dental insurance premiums.
Klaczak, J.